       Case 20-10892-pmm                           Doc 35      Filed 08/25/22 Entered 08/25/22 14:07:13                         Desc Main
     Fill in this information to identify the case:            Document Page 1 of 3
     Debtor 1              Moises Rodriguez, Sr.


     Debtor 2
     (Spouse, if filing)

     Unites States Bankruptcy Court for the:   Eastern District of Pennsylvania
                                                                                    (State)
     Case Number:          20-10892-PMM




Form 4100N
Notice of Final Cure Payment                                                                                                           10/15

File a separate notice for each creditor.

According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to cure the prepetition default in the claim
below has been paid in full and the debtor(s) have completed all payments under the plan.


 Part 1:             Mortgage Information

                                                                                                              Court claim no. (if known):
 Name of creditor:                   NATIONSTAR MORTGAGE LLC                                                  3-1

 Last 4 digits of any number you use to identify the debtor's account                         8   2   1   2

 Property Address:                                 1401 Elliott Ave
                                                   Bethlehem, PA 18018




 Part 2:             Cure Amount


 Total cure disbursments made by the trustee:
 .
                                                                                                                            Amount

 a. Allowed prepetition arrearage:                                                                                    (a)   $      14,408.05

     b. Prepetition arrearage paid by the trustee :                                                                   (b)   $      14,408.05

     c. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c):               (c)   $            -0-

     d. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c)                (d)   $            -0-
        and paid by the trustee:
     e. Allowed postpetition arrearage:                                                                               (e)   $            -0-

 f.       Postpetition arrearage paid by the trustee :                                                              + (f)   $            -0-

     g. Total. Add lines b, d, and f.                                                                                 (g)   $      14,408.05



 Part 3:             Postpetition Mortgage Payment

 Check one

 ¨ Mortgage is paid through the trustee .
         Current monthly mortgage payment                                                                                   $
         The next postpetition payment is due on                    /    /
                                                                MM / DD / YYYY

 ý Mortgage is paid directly by the debtor(s).


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Debtor 1     Moises Rodriguez, Sr.                                            Case number   (if known)   20-10892-PMM
             Name




 Part 4:     A Response Is Required By Bankruptcy Rule 3002.1(g)


 Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their counsel, and the trustee, within 21
 days after service of this notice, a statement indicating whether the creditor agrees that the debtor(s) have paid in full the
 amount required to cure the default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees, costs,
 and escrow amounts due, and (ii) consistent with § 1322(b)(5) of the Bankruptcy Code, are current on all postpetition
 payments as of the date of the response. Failure to file and serve the statement may subject the creditor to further action of
 the court, including possible sanctions.

 To assist in reconciling the claim, a history of payments made by the trustee is attached to copies of this notice sent to the
 debtor(s) and the creditor.




              û/s/ Scott F. Waterman
                    Signature
                                                                                 Date    08/25/2022


 Trustee            Scott F. Waterman

 Address            2901 St. Lawrence Avenue, Suite 100
                    Reading, PA 19606



 Contact phone      (610) 779-1313                                Email   info@ReadingCh13.com




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Debtor 1     Moises Rodriguez, Sr.                                          Case number   (if known)   20-10892-PMM
             Name




History Of Payments
Part 2 - B
Claim ID Name                    Creditor Type                 Date         Check # Posting Description                  Amount
3        NATIONSTAR MORTGAGE LLC Pre-Petition Arrears          02/23/2021   17214091Disbursement To Creditor/Principal    243.35
3        NATIONSTAR MORTGAGE LLC Pre-Petition Arrears          03/19/2021   17215318Disbursement To Creditor/Principal    292.95
3        NATIONSTAR MORTGAGE LLC Pre-Petition Arrears          04/23/2021   17216462Disbursement To Creditor/Principal    292.95
3        NATIONSTAR MORTGAGE LLC Pre-Petition Arrears          05/25/2021   17217598Disbursement To Creditor/Principal    283.50
3        NATIONSTAR MORTGAGE LLC Pre-Petition Arrears          06/25/2021   17218663Disbursement To Creditor/Principal    283.50
3        NATIONSTAR MORTGAGE LLC Pre-Petition Arrears          07/23/2021   17219719Disbursement To Creditor/Principal    283.50
3        NATIONSTAR MORTGAGE LLC Pre-Petition Arrears          08/20/2021   17220759Disbursement To Creditor/Principal    283.50
3        NATIONSTAR MORTGAGE LLC Pre-Petition Arrears          09/24/2021   17221791Disbursement To Creditor/Principal    283.50
3        NATIONSTAR MORTGAGE LLC Pre-Petition Arrears          10/22/2021   17222783Disbursement To Creditor/Principal    289.80
3        NATIONSTAR MORTGAGE LLC Pre-Petition Arrears          11/19/2021   17223711Disbursement To Creditor/Principal    289.80
3        NATIONSTAR MORTGAGE LLC Pre-Petition Arrears          12/17/2021   17224656Disbursement To Creditor/Principal    289.80
3        NATIONSTAR MORTGAGE LLC Pre-Petition Arrears          01/21/2022   17225634Disbursement To Creditor/Principal    289.80
3        NATIONSTAR MORTGAGE LLC Pre-Petition Arrears          02/18/2022   17226609Disbursement To Creditor/Principal    289.80
3        NATIONSTAR MORTGAGE LLC Pre-Petition Arrears          03/18/2022   17227566Disbursement To Creditor/Principal    289.80
3        NATIONSTAR MORTGAGE LLC Pre-Petition Arrears          04/22/2022   17228585Disbursement To Creditor/Principal    289.80
3        NATIONSTAR MORTGAGE LLC Pre-Petition Arrears          05/17/2022   17229509Disbursement To Creditor/Principal    289.80
3        NATIONSTAR MORTGAGE LLC Pre-Petition Arrears          06/27/2022   17230428Disbursement To Creditor/Principal    289.80
3        NATIONSTAR MORTGAGE LLC Pre-Petition Arrears          07/22/2022   17231409Disbursement To Creditor/Principal    289.80
3        NATIONSTAR MORTGAGE LLC Pre-Petition Arrears          08/19/2022   17232353Disbursement To Creditor/Principal 9,263.30
                                                                                         Total for Part 2 - B:         14,408.05




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